UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 In Re: New York City Policing During Summer 2020 20-Cv-8924 (CM)
 Demonstrations                                   (GWG)
 ________________________________________________

 This filing is related to: ALL CASES




                             NOTICE OF MOTION


TO ALL PARTIES IN INTEREST (BY ECF):

      PLEASE TAKE NOTICE THAT, upon the affidavit of Joseph Alejandro,

sworn to on March 3, 2021, and all prior pleadings and proceedings herein, the

POLICE BENEVOLENT ASSOCIATION OF THE CITY OF NEW YORK, INC.

(“PBA”) will move this Court, before the Hon. Colleen McMahon, at the United

States Courthouse, 500 Pearl Street, New York, NY 10007, on a date to be set by

the Court, with any opposing papers to be served and e-filed on or before March

19, 2021 and any reply papers to be served and e-filed on or before March 26,

2021, for an order pursuant to Rule 24 granting leave to the PBA to intervene as a

party-defendant in these cases, as limited by the PBA’s brief in support of this

motion, together with such other and further relief to the PBA as the Court deems

just and equitable.
Dated: March 3, 2021
       New York, New York
                                       LAW OFFICES OF ROBERT S. SMITH


                                             /s/ Robert S. Smith
                                       By: _____________________________
                                            Robert S. Smith

                                       7 Times Square, 28th floor
                                       New York, N.Y. 10036
                                       Tel.: (917) 225-4190
                                       Email: robert.smith@rssmithlaw.com

                                             - and -

                                       SCHLAM STONE & DOLAN LLP


                                       By: /s/ Richard H. Dolan
                                         Richard H. Dolan
                                         Thomas A. Kissane

                                       26 Broadway, 19th Floor
                                       New York NY 10004
                                       Tel.: (212) 344-5400
                                       Fax: (212) 344-7677
                                       Email:      rdolan@schlamstone.com
                                       Email:      tkissane@schlamstone.com

                                       Attorneys for Proposed Intervenor
                                       Police Benevolent Association of the City of
                                       New York, Inc.

MICHAEL T. MURRAY
Office of the General Counsel
Police Benevolent Association of the
City of New York, Inc.
125 Broad Street, 11th Floor
New York, NY 10004
Gaurav I. Shah,
  Associate General Counsel

Tel: (212) 298-9144
E-mail:      mmurray@nycpba.org
             gshah@nycpba.org

Of Counsel
